
MONTIEL, Judge.
On December 6, 1991, William L. O’Neal filed a petition for writ of habeas corpus with the Lee Circuit Court. On February 21, 1992, the circuit court made the following entry on the case action summary sheet:
“The defendant’s petition for writ of ha-beas corpus is actually a Rule 32 petition which is barred by time, [as a] successive petition ... and [for] failure to follow rule for filing. Therefore, petition is dismissed.”
This court has consistently held that when a petition styled as a petition for writ of habeas corpus is filed and the allegations raised in the petition are cognizable in a proceeding under Rule 32, A.R.Cr.P., the cause should be entertained in the court of original conviction and the petitioner should be given the opportunity to file a proper post-conviction petition as required by Rule 32.6(a). Drayton v. State, 600 So.2d 1088 (Ala.Crim.App.1992) (and cases cited therein). Therefore, this case is remanded to the circuit court with directions that the petition for writ of habeas corpus be returned to the appellant so that he can have the opportunity to file a proper Rule 32 petition.
REVERSED AND REMANDED.
All the Judges concur.
